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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I


 UNITED STATES OF AMERICA,                     Case No. 20-cr-00004-DKW-1

              Plaintiff,
                                               ORDER (1) GRANTING MOTION
       v.                                      TO STRIKE, AND (2) GRANTING
                                               IN PART MOTION FOR AWARD
 BERNHARD SCHULTE
 SHIPMANAGEMENT (SINGAPORE)
 PTE LTD.,

              Defendant.



      The United States moves for a monetary award of $500,000 to be issued to a

whistleblower–Prashant Kumar Shaba Bahadur Singh–who the government asserts

“first reported” illegal transfers of waste from Defendant’s vessel, resulting in the

vessel being boarded by U.S. Coast Guard officials. The government asserts that

such an award is appropriate, pursuant to Section 1908(a) of Title 33, because it is

approximately 28.5% of the fine paid by Defendant for its conduct, and “the

criminal prosecution in this case would probably not have been discovered[]”

without Singh’s assistance. While the Court has no reason or information to

dispute the level or importance of Singh’s assistance to the government's

investigation and successful prosecution of Defendant, the Court does not fully

agree with the amount of the award sought. Specifically, in light of the historical
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awards issued in like cases to which the government cites, and because Singh is a

solo whistleblower who would not share any approved award, the Court finds that

$300,000 is more than sufficient to compensate Singh for his assistance and

simultaneously encourage similar whistleblowers to come forward. Therefore, as

more fully discussed below, the motion for award is GRANTED IN PART. The

Court further GRANTS the government’s motion to strike, Dkt. No. 26 at 2-3,

Defendant’s response to the motion for award because the Court agrees that

Defendant has taken a position with respect to the award, contrary to its plea

agreement obligations.

                              LEGAL STANDARD

      Pursuant to Section 1908(a), “[i]n the discretion of the Court,” no more than

half the fine paid by a person convicted under the statute may be awarded to an

individual giving information that leads to such a conviction. 33 U.S.C. §

1908(a).

                                  DISCUSSION

1.    Motion to Strike

      The Court begins with the government’s motion to strike Defendant’s

response to the motion for award, Dkt. No. 26 at 2-3, to which Defendant has filed

an opposition, Dkt. No. 27. The government asserts that Defendant’s response is


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in violation of the plea agreement in this case because, in the response, Defendant

takes a position as to the motion for award. In opposition, Defendant argues that

it did not take a position in its response and merely presented “salient facts” for

consideration. Id. at 2. The Court agrees with the government.

      In the “[a]greement” section of the plea agreement, Defendant agreed to

“take no position on any motions that the government may file regarding a request

or recommendation to the Court for an award to be paid to any persons pursuant to

33 U.S.C. § 1908(a).” Dkt. No. 18 at 3. In its response, Dkt. No. 24, although

Defendant states that it “takes no position on the [motion for award],” plain review

of the same demonstrates the opposite. Specifically, Defendant’s clear position is

that Singh should not receive the award requested by the government because it is

excessive. This is evident because Defendant provides a version of events in

which Singh is blamed, in part, for allegedly not following Defendant’s policies,

Defendant promotes those policies and the training Singh received, and Defendant

champions its alleged activities since the incident that led to its conviction in this

case. That is a position as much as any other. Moreover, the clear bent of every

one of the “salient facts,” as mentioned, leans (conveniently or otherwise) in only

one direction: the requested award to Singh is excessive–a position that Defendant

agreed in the plea agreement not to take. Finally, even in its opposition to the


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motion to strike, Defendant continues to take a position with respect to the motion

for award and declaration from Singh, which was submitted with the government’s

reply. 1 Although Defendant, once again, states that it “takes no position” with

respect to the declaration, Dkt. No. 27 at 6, repeatedly saying so does not make it

true. Defendant quarrels with a number of purported deficiencies with Singh's

declaration, see id. at 6-7. Defendant also contends that the government is not

consistently applying the award component of Section 1908(a) and only through

the government’s inconsistent application can one arrive at the $500,000 figure

proposed for Singh. See id. at 7-9. How Defendant can even begin to credibly

assert that these are not positions it takes with respect to the proposed award to

Singh is lost on the Court. As a result, the Court finds that Defendant has acted

contrary to its plea agreement obligations and GRANTS the government’s

requested relief by striking Dkt. No. 24.

2.     Motion for Award

       As mentioned, the government moves for $500,000 to be awarded to Singh

for his efforts in helping the government investigate and prosecute Defendant.

The government correctly asserts that, in light of the fine issued in this case,



1
 Which, in effect, turns Defendant’s opposition to the motion to strike into a sur-reply with
respect to the motion for award that is prohibited by rule.
                                                 4
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$500,000 is within the limits of an award allowed by Section 1908(a). 2 Having

reviewed the entire record (excluding Dkt. No. 24 3), however, the Court finds that

$500,000 is too great an award for a single whistleblower to receive under the

circumstances of this case. The Court relies primarily on the historical awards to

which the government cites. See Dkt. No. 22 at 5-6. While a few of those

historical awards exceed $500,000, there are multiple recipients in nearly every

one of those cases that split the award. 4 Where, as here, an individual

whistleblower was in play, the award in virtually every case was significantly less,

in most cases even less than the amount the Court awards now. Ultimately, based

upon the Court’s review of these historical awards, an award of $300,000 is

appropriate. 5 The Court further finds that an award of $300,000 is sufficient under

the facts of this case. More specifically, $300,000 is sufficient to compensate

Singh for his fortitude in coming forward and providing usable evidence in

furtherance of the government’s investigation and successful prosecution of



2
  Specifically, the fine here was $1,750,000, Dkt. No. 19, which means that, pursuant to Section
1908(a), Singh could be awarded as much as $875,000.
3
  Because, as noted, Defendant includes additional argument against the proposed award in
Defendant's opposition to the motion to strike (Dkt. No. 27), the Court ignores that additional
argument as well.
4
  The only possible exception may be an award of $550,000 to a crew member in United States v.
Ionia Management, S.A., No. 3:07-CR-134 (D. Conn. 2011). See Dkt. No. 22 at 6.
5
  The Court notes that the government does not assert that this case is materially different than the
ones cited in its brief.
                                                  5
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Defendant, all at the risk of personal loss and future employability–something

which Singh asserts has already occurred. See Dkt. No. 26-1 at ¶ 29. At the

same time, $300,000 is also sufficient to encourage future seaman to come forward

in similar circumstances, with the goal being the protection of our seas.

                                  CONCLUSION

      For the reasons set forth herein, the Court GRANTS the motion to strike,

Dkt. No. 26 at 2-3, and instructs the Clerk to STRIKE Dkt. No. 24 in its entirety.

The Court further GRANTS IN PART the motion for award, Dkt. No. 22, to the

extent that Singh is awarded $300,000. The government is ordered to promptly

provide wiring instructions. Upon receipt of said wiring instructions, the Clerk is

instructed to transfer the award of $300,000 to the recipient and/or his designee.

      IT IS SO ORDERED.

      DATED: October 21, 2020 at Honolulu, Hawai‘i.




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United States of America v. Bernhard Schulte Shipmanagement (Singapore) PTE
LTD., Criminal No. 20-00004 DKW-1; ORDER (1) GRANTING MOTION TO
STRIKE, AND (2) GRANTING IN PART MOTION FOR AWARD



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